Case 2:12-cv-03319-SDW-SCM Document 105 Filed 09/04/19 Page 1 of 1 PageID: 1076
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  Hon. Steven C. Mannion
  United States Magistrate Judge
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street, Room 4015
  Newark, NJ 07101

   Re:      U.S. ex ret. Armstrong v. Andover Subacute & Rehab Center Services One, Inc., et
            at. (Civil Action No. 12-3319)

  Dear Judge Mannion:

          This firm represents Defendants Andover Subacute & Rehab Center Services One, Inc.,
  Andover Subacute & Rehab Center Services Two, Inc., and Estate of Dr. Hooshang Kipiani
  (collectively, the “Andover Defendants”) in the above-referenced matter.

         At the Court’s request, the Andover Defendants request that their Motion thr
  Reconsideration of this Court’s August 14 2019 Order (Docket No. 103) (the “Motion”) be
         —...
  withdraWn and considered by the Court info     ly. If the Court declines to consider the Mtioff
            —th      over Defendants respectfully request that the Motion remain returnable on
  October 7, 2019.



                                                      Respectfully submitted,



                                                      Blan Jarkasi

   cc:   All Counsel of Record (via ECF)


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                                                                   s/Steven C. Ma;2r’.ion
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